         Case 8-20-08038-ast            Doc 24     Filed 01/21/21        Entered 01/21/21 09:41:04




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                     :
    In re:                                                           :   Chapter 11
                                                                     :
    ORION HEALTHCORP, INC1.                                          :   Case No. 8-18-71748 (AST)
                                                                     :
                          Debtors.                                   :   (Jointly Administered)
                                                                     :
    HOWARD M. EHRENBERG IN HIS CAPACITY                              :
    AS LIQUIDATING TRUSTEE OF ORION                                  :   Adv. Pro. No. 8-20-08038 (AST)
    HEALTHCORP, INC.,                                                :
                                                                     :
                           Plaintiff,                                :
                                                                     :
    v.                                                               :
                                                                     :
    EVICORE HEALTHCARE MSI, LLC,                                     :
                                                                     :
                           Defendant.                                :
                                                                     :


                STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

             It is hereby stipulated by and between the parties to the above-captioned adversary

proceeding (the “Adversary Proceeding”), through their undersigned counsel, that pursuant to

Rule 41 of the Federal Rules of Civil Procedure, made applicable by Rule 7041 of the Federal

Rules of Bankruptcy Procedure, this Adversary Proceeding is dismissed with prejudice with each

party to bear its own costs.


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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network
Management, LLC (7168). The corporate headquarters and the mailing address for the Debtors listed
above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.
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Dated: January 14, 2021                               Dated: January 14, 2021

PACHULSKI STANG ZIEHL & JONES LLP                     GORDON REES SCULLY MANSUKHANI
Attorneys for Plaintiff Howard M. Ehrenberg,          Attorneys for Defendant, Evicore Healthcare
in his capacity of Liquidating Trustee of Orion       MSI, LLC
Healthcorp, Inc., et al

By:       /s/ Jeffrey P. Nolan                        By:    /s/ Steven J. Zakrzewski
       Ilan D. Scharf, Esq.                                 Steven J. Zakrzewski, Esq.
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SO ORDERED:




                                                               ____________________________
 Dated: January 21, 2021                                                 Alan S. Trust
        Central Islip, New York                              Chief United States Bankruptcy Judge


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